                             Case 2:20-cr-00018-JCM-EJY          Document 26        Filed 04/07/20   Page 1 of 5




                         1    STIP
                              MICHAEL N. AISEN, ESQ.
                         2    Nevada State Bar No. 11036
                              ADAM L. GILL, ESQ.
                         3    Nevada State Bar No. 11575
                              723 South 3rd Street
                         4    Las Vegas, NV 89101
                              P: (702) 750-1590
                         5    F: (702) 548-6884
                              Attorneys for Defendant
                         6    Francisco Mares

                         7                                UNITED STATES DISTRICT COURT
                         8                                       DISTRICT OF NEVADA
                         9    UNITED STATES OF AMERICA,
                        10                  Plaintiff,                        Case No: 2:20-CR-00018-JCM-EJY

                        11    vs.
                                                                              STIPULATION TO CONTINUE
                        12    RENATO CONSUEGRA-CLEMENTE,                      CALENDAR CALL AND TRIAL DATE
                              Aka “Tito,” and FRANCISCO JAIVER
                        13    MARES, Aka “Pancho,”,
                        14                  Defendants.
                        15
                        16           IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A. Trutanich,

                        17    United States Attorney, and Allison Reese, Assistant United States Attorney, counsel for the

                        18    United States of America, Adam Gill, Esq. and Michael N. Aisen, Esq., of Aisen, Gill &
                        19    Associates, counsel for Defendant FRANCISCO MARES, and Rene L. Valladares, Federal
                        20
                              Public Defender, and Paul D. Riddle, Assistant Federal Public Defender, counsel for Defendant
                        21
                              RENATO CONSUEGRA-CLEMENTE, that the trial currently set for April 20, 2020 at 9:00
                        22
                              a.m., be vacated and continued to a date and time convenient to the Court, but no sooner than
                        23
                        24    ninety (90) days.

                        25           This stipulation is entered for the following reasons:

                        26      1. The parties have discussed this matter and in light of the concerns surrounding the
                        27
                                    COVID-19 virus, it is in the best interest of the Government and the Defendants that this
                        28
  AISEN, GILL, &
 ASSOCIATES, LLP
723 SOUTH 3RD STREET
  LAS VEGAS, NV 89101
                             Case 2:20-cr-00018-JCM-EJY           Document 26         Filed 04/07/20    Page 2 of 5




                                    matter be continued.
                         1
                         2      2. In addition, counsel for the defendants need additional time to conduct investigation in this

                         3          case in order to determine whether there are any pretrial issues that must be litigated and

                         4          whether the case will ultimately go to trial or will be resolved through negotiations.
                         5
                                3. Mr. Mares is not in custody and he agrees with this continuance.
                         6
                                4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.
                         7
                                5. The parties agree to the continuance.
                         8
                                6. The additional time requested herein is not sought for purposes of delay, but to allow
                         9
                        10          counsel for defendants sufficient time within which to be able to effectively and

                        11          completely investigate the discovery materials provided.
                        12      7. Additionally, denial of this request for continuance could result in a miscarriage of justice.
                        13
                                    The additional time requests by this Stipulation is excludable in putting the time within
                        14
                                    which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
                        15
                                    States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
                        16
                        17          Code, Section 3161(h)(7)(B)(i), (iv).

                        18      8. This is the first request to continue trial dates filed herein.

                        19           DATED this 6th day of April, 2020.
                        20  /s/ Adam L. Gill
                        21 Adam   L. Gill, Esq.
                           Counsel for Defendant
                        22 Francisco Mares
                        23  /s/ Allison Reese
                           Allison Reese, Esq.
                        24 Attorney for the United States
                        25 Assistant United States Attorney
                        26 /s/ Paul D. Riddle
                           Assistant Federal Public Defender
                        27 Counsel for Defendant
                           Renato Consuegra-Clemente
                        28
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                             Case 2:20-cr-00018-JCM-EJY          Document 26        Filed 04/07/20      Page 3 of 5




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                              FOF
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                         6    Attorneys for Defendant
                              Francisco Mares
                         7
                         8                                 UNITED STATES DISTRICT COURT
                                                                 DISTRICT OF NEVADA
                         9
                              UNITED STATES OF AMERICA,
                        10
                                           Plaintiff,
                        11                                                    Case No: 2:20-CR-00018-JCM-EJY
                              vs.
                        12
                              RENATO CONSUEGRA-CLEMENTE,                      ORDER
                        13
                              Aka “Tito,” and FRANCISCO JAIVER
                        14    MARES, Aka “Pancho,”,

                        15                 Defendants.

                        16
                                                                   FINDINGS OF FACT
                        17
                                        Based on the stipulation of Counsel, and good cause appearing, the Court finds that:
                        18
                                1. The parties have discussed this matter and in light of the concerns surrounding the
                        19
                                    COVID-19 virus, it is in the best interest of the Government and the Defendants that this
                        20
                        21          matter be continued.

                        22      2. In addition, counsel for the defendants need additional time to conduct investigation in this
                        23          case in order to determine whether there are any pretrial issues that must be litigated and
                        24
                                    whether the case will ultimately go to trial or will be resolved through negotiations.
                        25
                                3. Mr. Mares is not in custody and he agrees with this continuance.
                        26
                                4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.
                        27

                        28      5. The parties agree to the continuance.
  AISEN, GILL, &
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                             Case 2:20-cr-00018-JCM-EJY          Document 26        Filed 04/07/20     Page 4 of 5




                                6. The additional time requested herein is not sought for purposes of delay, but to allow
                         1
                         2          counsel for defendants sufficient time within which to be able to effectively and

                         3          completely investigate the discovery materials provided.

                         4      7. Additionally, denial of this request for continuance could result in a miscarriage of justice.
                         5
                                    The additional time requests by this Stipulation is excludable in putting the time within
                         6
                                    which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
                         7
                                    States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
                         8
                                    Code, Section 3161(h)(7)(B)(i), (iv).
                         9
                        10                                      CONCLUSIONS OF LAW

                        11          The ends of justice served by granting said continuance outweigh the best interest of the
                        12 public and the defendants in a speedy trial, since the failure to grant said continuance would be
                        13
                             likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
                        14
                             opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
                        15
                             account the exercise of due diligence.
                        16
                        17          The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United

                        18 States Code, Section 3161(h)(7)(A), when considering the facts under Title 18, United States

                        19 Code, Sections 3161(h)(7)(B) and 3161(h)(7)(B)(i), (iv).
                        20                                                  ORDER
                        21
                                    IT IS THEREFORE ORDERED that the calendar call currently scheduled for April 15,
                        22
                             2020, at the hour of 1:30 p.m., be vacated and continued to _________________ at the hour of
                        23
                             ___:___ __.m.; and the trial currently scheduled for April 20, 2020, at the hour of 9:00 a.m., be
                        24
                        25 vacated and continued to __________________ at the hour of ___:___ __.m.
                        26      Dated this _______day of _________, 2020.

                        27

                        28
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                             Case 2:20-cr-00018-JCM-EJY   Document 26   Filed 04/07/20   Page 5 of 5




                                                                         UNITED STATES DISTRICT JUDGE
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